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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 10-223 JAM
                                   )
12                  Plaintiff,     )           STIPULATION VACATING HEARING ON
                                   )           JUDGMENT AND SENTENCE AND
13             v.                  )           SETTING STATUS CONFERENCE
                                   )
14   HODA SAMUEL,                  )
                                   )           Date: April 22, 2013
15                  Defendant.     )           Time: 9:30 a.m.
     ______________________________)           Hon. John A. Mendez
16
17
          It is hereby stipulated by and between the United States of
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     America through its attorneys, and defendant Hoda Samuel and her
19
     attorney, that the hearing on status of Judgment and Sentence,
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     currently set for April 30, 2013, be vacated, and that a hearing on
21
     status of Judgment and Sentence be set for July 9, 2013.          Ms. Samuel
22
     recently suffered a fractured hip.        She was hospitalized for a
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     period of time, and her physician has informed the parties that the
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     fracture will require approximately four weeks to heal.          In
25
     addition, Mr. Tedmon is about to start trying a criminal case in
26
     this district which is currently set to last all of May and into
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     June of 2013.   Due to Ms. Samuel’s injury, and in light of his
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     upcoming trial schedule, Mr. Tedmon has been and will be unable to

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1    consult with his client as necessary to prepare for the sentencing
2    proceeding.   For the foregoing reasons, the parties jointly request
3    that the hearings on judgment and sentence, and on the pending
4    motion for a new trial, both set for April 30, 2013, be vacated.
5    The parties further request that a status conference be set for July
6    9, 2013.   It is hoped that by July 9 the parties will be apprised of
7    Ms. Samuel’s progress and able to set a realistic schedule for the
8    filing of sentencing memoranda and the hearings on judgment and
9    sentence and the motion for a new trial.
10   DATED: April 22, 2013              /s/ Philip Ferrari for
                                       SCOTT TEDMON, ESQ.
11                                     Attny. for Hoda Samuel
12
13   DATED: April 22, 2013             BENJAMIN B. WAGNER
                                       United States Attorney
14
15                                By: /s/ Philip Ferrari
16                                    PHILIP A. FERRARI
                                      Assistant U.S. Attorney
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9                       IN THE UNITED STATES DISTRICT COURT

10                   FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,     )        CR. No. S-10-0223 JAM
                                   )
13                  Plaintiff,     )        ORDER SETTING STATUS
                                   )        CONFERENCE
14             v.                  )
                                   )
15   HODA SAMUEL,                  )
                                   )
16                  Defendant.     )
     ______________________________)
17
18        The hearings on judgment and sentencing and the motion for a
19   new trial, currently set for April 30, 2013, are hereby vacated.         A
20   status conference shall be held in the above referenced matter on
21   July 9, 2013, at 9:45 a.m. to address the setting of hearings on
22   judgment and sentence and the motion for a new trial.
23
          IT IS SO ORDERED.
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26   DATED: 4/23/2013                  /s/ John A. Mendez
                                       HON. JOHN A. MENDEZ
27                                     UNITED STATES DISTRICT COURT JUDGE

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